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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                Case No. 16-cv-61005-GAYLES

  LUIS SIERRA,
                       Plaintiff,

                v.

  ORION VENTURE XII FLORIDA, LLC,
  and RRF 7458, LLC d/b/a DENNY’S 7458,
                    Defendants.
                                               /

                                    ORDER OF DISMISSAL

        THIS CAUSE comes before the Court on Plaintiff Luis Sierra and Defendant Orion

  Venture XII Florida, LLC’s Stipulation of Dismissal With Prejudice [ECF No. 27] and Plaintiff

  Luis Sierra and Defendant RRF 7458, LLC d/b/a Denny’s 7458’s Stipulation of Dismissal With

  Prejudice [ECF No. 28]. Being fully advised, it is ORDERED AND ADJUDGED that this action

  is DISMISSED WITH PREJUDICE. All parties shall bear their own attorney’s fees and costs.

        This action is CLOSED and all pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of September, 2016.




                                            ________________________________
                                            DARRIN P. GAYLES
                                            UNITED STATES DISTRICT JUDGE
